                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:20-CR-201-RJC-DCK

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )       ORDER
                                                        )
 MARQUAY QUAMAINE SHEPPARD,                             )
                                                        )
                 Defendant.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal”

(Document No. 38) filed on November 8, 2021. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, the undersigned will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule(“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in this
                Rule, “materials” includes pleadings and documents of any nature
                and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a
                previously entered Rule 26(e) protective order.

                (c)     Motion to Seal or Otherwise Restrict Public Access. A
                party’s request to file materials under seal must be made by formal
                motion, separate from the motion or other pleading sought to be




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               sealed, pursuant to LCvR 7.1. Such motion must be filed
               electronically under the designation “Motion to Seal.” The motion
               must set forth:

                         (1)     A non-confidential description of the
                         material sought to be sealed;
                         (2)     A statement indicating why sealing is
                         necessary and why there are no alternatives to filing
                         under seal;
                         (3)     Unless permanent sealing is sought, a
                         statement indicating how long the party seeks to have
                         the material maintained under seal and how the
                         matter is to be handled upon unsealing; and
                         (4)     Supporting statutes, case law, or other
                         authority.
LCvR 6.1.

       By the instant motion, Defendant seeks to file a “Motion For Variance And Sentencing

Memorandum” (Document No. 39) under seal. (Document No. 38).

       Defendant’s motion does not comply with the Local Rules as set forth above. Nevertheless,

having considered LCvR 6.1(c) and LCrR 49.1.1, the record of this case, and Defendant’s

“…Memorandum,” the Court will allow the motion. Future motions that fail to comply with the

Rules may be summarily denied.

       Noting that the time for public response has not run to this motion, the Court will consider

any objection to this Order from non-parties as an objection to the motion, requiring no additional

burden for any non-party under the Federal Rules of Civil Procedure. See LCvR 6.1(e).

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal” (Document No.

38) is GRANTED. Document No. 39 shall be SEALED and remain under SEAL until otherwise

ordered by this Court.

                                      Signed: November 8, 2021




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